EXHIBIT I
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 3

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 6

 7                  SUPERIOR COURT OF WASHINGTON FOR KING COUNTY
 8

 9   FIRST FED BANK, a Washington state bank             No. 24-2-08418-5 SEA
     corporation,
10                                                       MOTION FOR LEAVE TO INTERVENE
                                  Plaintiff,             AND TO EXPAND SCOPE OF FIRST
11                                                       FEDERAL BANK’S REQUESTED
            vs.                                          RECEIVERSHIP
12

13   IDEAL PROPERTY INVESTMENTS, LLC, a

14   Washington limited liability company;

15                                 Defendant.

16

17                        INTRODUCTION AND RELIEF REQUESTED

18          Proposed Intervenors Pacific Water Technology, LLC, Spruce Waters Investments,

19   LLC, Indiana Water Technology, LLC, AR Water Supply, LLC, BLC Water Company, Granite

20   Street Ventures, LLC, and Rumson Wellness, LLC (“Pacific Parties”) respectfully seek leave

21   to intervene in the above-captioned proceeding commenced by First Federal Bank’s (“FFB”)

22   on April 17, 2024, and to assert direct and third-party claims. Intervention, and broadening

23   the scope of FFB’s requested receivership, is warranted because this action and the claims of

24   the Pacific Parties are inextricably intertwined.

25          The Pacific Parties are plaintiffs in a lawsuit filed in Snohomish County on April 16,


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 1
     2024, captioned as Pacific Water Technology, LLC v. Ryan Wear et al., Case No. 24-2-02887-
 2
     31 (“WaterStation Action”). In the WaterStation Action, the Pacific Parties have sued numerous
 3
     defendants including Ryan Wear, Creative Technologies, LLC d/b/a WaterStation Technology
 4
     (“WaterStation”), and, the subject of this action, Ideal Property Investments, LLC (“Ideal
 5
     Property”), alleging that WaterStation et al. carried out a Ponzi scheme by aggressively
 6
     marketing and selling supposed sham business opportunities involving water vending machines
 7
     to retail investors and their families throughout the United States. Fast forward to today,
 8
     WaterStation is operationally insolvent and has failed to make investor payments for many
 9
     months, and in some cases for over a year. The Pacific Parties have uncovered that the vending
10
     machines WaterStation allegedly sold to them and allegedly installed at retail locations
11
     throughout the country actually do not exist. All while shirking its payment obligations to
12
     investors, WaterStation has been engaging in a series of problematic and apparently preferential
13
     transactions involving real property held by Ryan Wear’s many LLCs, including Ideal
14
     Property—activities that, according to expert Fraud Examiner Kari Overson, are typically used
15
     to hide assets from creditors and carry out money laundering schemes. In addition to an ongoing
16
     DFI investigation, there at least 15 different lawsuits pending against Wear and WaterStation
17
     in this state alone. Adding insult to injury, the Pacific Parties and other investors are now facing
18
     lawsuits brought by banks, including FFB itself, for alleged defaults on loans the investors were
19
     induced to obtain to finance the fraudulent WaterStation investments in the first place.
20
            According to the Pacific Parties’ best estimates, the real estate portfolio held by Ideal
21
     Property is worth in excess of $40 million according to outdated data. Thus, the Pacific Parties
22
     have a significant interest in the disposition of those assets. On April 23, 2024, the Pacific
23
     Parties filed a Motion for Temporary Restraining Order and Motion to Appoint a General
24
     Receiver over the Defendants in the Snohomish Action, including WaterStation and Ideal
25

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 1
     Property. The Pacific Parties have also proposed to FBB that the receiverships be consolidated
 2
     under a single judge in King County, but FBB has been non-committal thus far.
 3
            FFB commenced this action on April 17, 2024. FFB seeks to unilaterally install a
 4
     receiver over Ideal Property. As noted, Ideal Property is an affiliate of WaterStation and owned
 5
     by Ryan Wear. FFB contends a receiver is warranted due to the breach of various loan
 6
     agreements by Ideal and WaterStation pursuant to which FFB alleges it was granted security
 7
     interests in the real property assets held by Ideal Property.
 8
            At bottom, the Pacific Parties and FFB have direct competing claims to the same real
 9
     property. By definition, FFB does not adequately represent the Pacific Parties’ interests—in
10
     fact, their interests are directly divergent. And if this motion is denied, the Pacific Parties will
11
     be denied the opportunity to be heard in an action where their interests, not to mention the
12
     interests of hundreds of other investors and their families, are directly threatened.
13
     Accordingly, the Pacific Parties respectfully submit intervention is warranted under either CR
14
     24(a) or (b). In addition, the interests of judicial economy and efficient administration
15
     likewise support allowing the Pacific Parties to broaden the scope of the receivership
16
     requested by FFB to include WaterStation and its various holding company affiliates.
17
                                       STATEMENT OF FACTS
18
        A. Wear and WaterStation induced consumers to invest based upon false and
19         misleading assurances about the security and profitability of the opportunity.
20          Ryan Wear and WaterStation (together “WST”) and its many affiliates are owned and
21   controlled by Ryan Wear. Bender Decl., Exs. 1-5. Dating back to at least 2017, WST has
22   induced hundreds of people to invest in unregistered securities that WST marketed and sold as
23   franchise opportunities. Compl. ¶56.
24
25

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 1
            WST employed a number of tactics to solicit and induce the Pacific Parties and hundreds
 2
     of other people to invest in unregistered securities. Id. ¶57. WST’s solicitations were carefully
 3
     tailored to appeal to a broad range of potential investors, who for the most part had no prior
 4
     experience in managing or investing in the type of business at issue. Id. WST was able to take
 5
     advantage of this investor base because they relied on WST’s – and others’ – superior
 6
     knowledge and expertise with respect to how to structure and operate the investment. Schroeder
 7
     Decl. ¶¶3-4; Lee Decl. ¶¶3-4; Davis Decl. ¶¶3-4; Chu Decl. ¶¶3-4.
 8
            WST made false and misleading assurances to the Pacific Parties and other investors
 9
     that led them to believe that the investment would be more secure and profitable than it truly
10
     was. Id. ¶59. Among other things, WST led investors to believe that, if they invested, it would
11
     help supply and service the machines for a share of the profits and, once installed, that investors
12
     would earn steady returns ranging between 12-20% disbursed in regular monthly payments. See
13
     Schroeder Decl. ¶¶3-4; Lee Decl. ¶¶3-4; Davis Decl. ¶¶3-4; Chu Decl. ¶¶3-4. WST assured
14
     investors they would be able to manage and monitor the performance of their machines through
15
     applications and reports that would enable them to track every detail. Id. WST also touted to
16
     investors a “guaranteed buyback” of their machines in order to “mitigate risk” and “improve
17
     ROI.” See Schroeder Decl. ¶3; Lee Decl. ¶3; Davis Decl. ¶3; Chu Decl. ¶3. These assurances
18
     were false or misleading or both.
19
        B. WST raised over $150 million sourced through consumer business loans that WST
20         induced investors to obtain and collateralize with their personal assets.
21          WST’s fundraising efforts on the basis of the above assurances were very successful.
22   Upon information and belief, WST raised over $150 million through individual small business
23   loans that it induced investors to obtain and collateralize with their personal assets. Compl. ¶65.
24
25

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 1
     WST also guided the Pacific Parties and other investors to obtain these loans from banks of
 2
     WST’s choosing, who ultimately paid the funds directly to WST. Id.
 3
            The following table summarizes the principal amounts invested by the Pacific Parties
 4
     based on WST’s false and misleading assurances about the security and profitability of the
 5
     investment and the reliability of WST’s operations:
 6
      Name                            Principal Investment            Lending Bank(s)
 7    Spruce Waters Investments,      $994,500                        Celtic Bank
      LLC
 8

 9    Indian Water Technology,        $3,323,500                      Celtic Bank, First Federal
      LLC
10
      AR Water Supply, LLC            $3,272,500                      Celtic Bank
11

12    Pacific Water Technology,       $3,172,000                      First Federal
      LLC
13    BLC Water Company, LLC          $1,003,000                      First Federal

14    Granite Street Ventures,        $3,017,000                      Community
      LLC                                                             Bank/Fountainhead Bank
15

16    Rumson Wellness, LLC            $1,200,000                      Community
                                                                      Bank/Fountainhead Bank
17

18   See also Schroeder Decl.; Lee Decl.; Davis Decl.; Chu Decl.
19          While WST branded the investment as the sale of a “franchise opportunity” coupled
20   with bank loans as a funding source, this consolidated transaction in reality constituted the
21   illegal offer and sale of an unregistered security. Compl. ¶70
22          The purported legal documentation accompanying the investments generally consisted
23   of a so-called “purchase order” for a certain number of machines, coupled with a so-called
24   “franchise agreement” and a so-called “service agreement.” Id. ¶70. The transactions also
25

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     included loan agreements with small or regional banks. See Schroeder Decl. Exs. 1(a) to 1(d);
 2
     Lee Decl. Exs. 1(a) to 1(d); Davis Decl. Exs. 1(a) to 1(d).
 3
             Under these fraudulently-induced agreements, WST assured the Pacific Parties and
 4
     other investors that they were purchasing a certain number of cutting edge water station
 5
     machines and that WST would make regular monthly payments based on the number of each
 6
     investors’ machines and their performance. See Chu Decl. ¶4; Schroeder Decl. ¶4; Lee Decl.
 7
     ¶4; Davis Decl. ¶4. The execution of these various documents – the agreements with WST and
 8
     the banks – constituted a single unregistered securities transaction. Id.
 9
             As set forth below, not only has WST failed to fulfill its payment obligations for months,
10
     but the Pacific Parties’ investigation has uncovered significant evidence establishing that WST
11
     misled investors about the machines in operation. Meanwhile, Wear amassed a multi-million
12
     dollar real estate portfolio.
13
         C. WST is insolvent and has failed to make investor payments for months.
14
             In connection with their investments, the Pacific Parties were promised monthly
15
     revenue payments of tens of thousands of dollars. Chu Decl. ¶6; Schroeder Decl. ¶4; Lee Decl.
16
     ¶6; Davis Decl. ¶4.These assurances were obviously material to their decision to invest as the
17
     monthly payments would offset the costs to service the loans that they were induced to take. Id.
18
             However, throughout 2023 WST steadily began failing to make monthly payments
19
     owed to investors. See Chu Decl. ¶5; Schroeder Decl. ¶4; Lee Decl. ¶5; Davis Decl. ¶5. Fast
20
     forward to the present, WST et al have failed to meet their payment obligations for months. See
21
     id. Indeed, the attached investor declarations detail WST’s failure to make the required monthly
22
     payments, forcing investors to either make their loan payments out of pocket or default. See id.
23
     In addition to the Pacific Parties, there are dozens of other investors with the same experience.
24
             After a mounting number of investors complained about the missing payments, WST
25

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 1
     misled the Pacific Parties and other investors further by inducing them to enter into “refund
 2
     agreements” under which they were assured WST would buy back their machines in full. Chu
 3
     Decl. ¶4; Schroeder Decl. ¶4; Lee Decl. ¶4. WST also failed to deliver on these “agreements”
 4
     as the purported “refund” never occurred. Id. At present, WST is clearly operationally insolvent
 5
     as evidenced by its consistent failure to make payments and the mounting number of lawsuits
 6
     that have been filed against it in recent months by both investors and creditors alike. Bender
 7
     Decl. Exs. 14-28.
 8
        D. WST is insolvent and has failed to make investor payments for months.
 9
            The Pacific Parties have been forced to expend tens of thousands of dollars in personal
10
     funds to investigate after enduring months of false statements and missing payments by WST.
11
     The information they have uncovered to date paints a grim picture that WST is nothing more
12
     than a Ponzi scheme.
13
            The Pacific Parties have uncovered significant evidence that WST (1) did not use
14
     investor funds as represented and (2) that Wear et al. diverted these funds for other purposes
15
     including acquisition of an impressive real estate portfolio. In fact, the number of machines
16
     WST has in operation is far lower than the figures previously touted, demonstrating that WST
17
     has misled the Pacific Parties about the number of machines in operation and how it has used
18
     their funds throughout the relationship. See Chu Decl. ¶6; Schroeder Decl. ¶4; Lee Decl. ¶6;
19
     Davis Decl. ¶4; Sadek Decl. ¶¶6-12.
20
            To date, Wear and WST have engaged in a variety of transactions involving their assets
21
     that threaten to permanently prejudice the rights and interests of the Pacific Parties and other
22
     investors. Wear is a prolific organizer and owner of LLCs – the vast majority of the affiliate
23
     LLCs named in the lawsuit share the same business address as WST. In December 2023, Wear
24
     organized yet another company, WaterStation Technology II, LLC—ostensibly to launch a new
25

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 1
     company to carry on the old business free of creditors. Bender Decl., Ex. 4.
 2
            In 2019, Wear organized Ideal Property, a Washington LLC, with the same business
 3
     address as WST. Bender Decl., Ex. 12. In the few short years that followed, Ideal Property
 4
     apparently acquired an impressive real estate portfolio, boasting at least 35 commercial and
 5
     residential properties in Washington and other states. Bender Decl., Ex. 13 at 9-10. And, since
 6
     its formation in 2019, Ideal Property has carried out over 60 separate real property transactions.
 7
     Id. Over 20 of these transactions were executed in 2023 alone, most of which consisting of
 8
     credit transactions encumbering what is likely the only remaining value in the WST portfolio.
 9
     See id. at 11-15.
10
            In recent months, Wear has also engaged in a variety of real property transactions such
11
     as granting security interests for debts apparently owed by his other related entities and quit
12
     claiming title to property between various entities. According to expert Fraud Examiner Kari
13
     Overson, these activities are a strong “indicator of fraud” and it is consistent “with someone
14
     who is trying to hide those assets from creditors and/or governmental agencies.” Overson Decl.,
15
     ¶14. The subject transactions involve both Creative Technologies and Ideal Property, the
16
     subject of FFB’s action. See id.
17
            Moreover, WST and Wear are currently under investigation by Washington’s
18
     Department of Financial Institutions. See Bender Decl., Ex. 9-11. DFI took Wear’s testimony
19
     in November 2023. After spending the last year or so shirking his payment obligations to WST’s
20
     investors, he testified that WST Franchise Systems or its bank account may now “be closed.”
21
     Bender Decl., Ex 9 (Wear Dep. 86:16-22 and 88:2-7). Wear confirmed that he had signing
22
     authority for all accounts and that it was “possible” that he used funds from Defendant Creative
23
     Technologies (“WaterStation”) to purchase real estate with other entities. Id. at 72:20-22;
24
     73:16-24. Wear also confirmed that Creative Technologies holds a blended portfolio of assets,
25

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 1
     which includes both water vending assets from WST and what he described as non-water
 2
     vending assets from Defendant Refreshing USA. Id. at 84:12-85:25. In addition, Wear conceded
 3
     that prior to 2022 WST likely did not screen customers on their financial accreditation before
 4
     selling investments, Id. at 185:1-14 to 186:6-15, nor was he sure how, if at all, WST ever
 5
     communicated the risks of the investment to investors. Id. at 192:6 to 193:6.
 6
            There are 15 other lawsuits pending against WaterStation in this state alone, in addition
 7
     to lawsuits in other states. See Mercho Decl.
 8
                                       STATEMENT OF ISSUE
 9
            Should the Court enter an Order (1) granting the Pacific Parties leave to intervene and
10
     file their attached claims and (2) expanding the scope of FFB’s requested receivership to
11
     include WaterStation and its various holding company affiliates.
12
                                     EVIDENCE RELIED UPON
13
            This motion is based upon the pleadings on file, the declarations of John T. Bender,
14
     Dr. Kwansoo Lee, Dr. Brian Chu, David Schroeder, Sterling Davis, Tyler Sadek, Tarek
15
     Mercho, and Kari Overson, and the exhibits attached thereto.
16
                                              AUTHORITY
17
        A. The Pacific Parties satisfy the standard for intervention under both CR 24(a) and
18         CR 24(b).
19          The Pacific Parties are entitled to intervene as a matter of right under CR 24(a) of the
20   Washington Superior Court Civil Rules. CR 24(a) provides that “Upon timely application
21   anyone shall be permitted to intervene in an action . . . when the applicant claims an interest
22   relating to the property or transaction which is the subject of the action and the person is so
23   situated that the disposition of the action may as a practical matter impair or impede the person's
24   ability to protect that interest, unless the applicant's interest is adequately represented by
25

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     existing parties.” To succeed on a motion to intervene, “[n]ot much of a showing is required,
 2
     however, to establish an interest” and the intervenor “need make only a minimal showing that
 3
     its interests may not be adequately represented.” Columbia Gorge Audubon Soc'y v. Klickitat
 4
     Cnty., 98 Wash. App. 618, 629 (1999).
 5
             FFB commenced this action on April 17, 2024, and thus intervention is timely. The
 6
     Pacific Parties and FFB have competing claims to the same real property, i.e. the properties
 7
     held by Ideal Property. Both the earlier-filed WaterStation Action and this action name Ideal
 8
     Property as a defendant. If this motion is denied, the Pacific Parties will be denied the
 9
     opportunity to be heard in an action where their interests, not to mention the interests of
10
     hundreds of other investors and their families, are directly threatened. FFB, by definition,
11
     does not adequately represent the Pacific Parties’ interests.
12
             The Pacific Parties therefore respectfully submit intervention is warranted under either
13
     CR 24(a) or (b). In addition, the interests of judicial economy and efficient administration
14
     likewise support broadening the scope of the receivership requested by FFB to include
15
     WaterStation and its various holding company affiliates.
16
         B. The Court should appoint a general receiver over WaterStation as well as Ideal
17          Property to ensure global administration and preservation of assets.
18           Washington’s receivership statute grants this Court the authority to appoint both general
19   and custodial receivers when (1) it is “reasonably necessary” and other remedies “are not
20   available or are inadequate” and (2) any of the grounds set forth in RCW 7.60.015(1) exist. 1
21           A general receiver is clearly warranted in this case under RCW 7.60.015 on a number
22

23           1
                General receivers “take possession and control of all or substantially all of a person’s property with
     authority to liquidate that property and, in the case of a business over which the receiver is appointed, wind up
24
     affairs.” RCW 7.60.015. Custodial receivers have the same powers as custodial receivers, except custodial
25   receivers are “not given authority to liquidate property.” Id.


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     of different grounds, including:
 2
            (a) . . . [Where] the party is determined to have a probable right to or interest in
 3          property that is a subject of the action and in the possession of an adverse party,
            or when the property or its revenue-producing potential is in danger of being lost
 4
            or materially injured or impaired;
 5          ***
            (i) In an action against any person who is not an individual . . . if that person is
 6          insolvent or is not generally paying the person's debts as those debts become due
            unless they are the subject of bona fide dispute, or if that person is in imminent
 7          danger of insolvency;
            ***
 8
            (p) In connection with a proceeding for relief with respect to a voidable transfer
 9          as to a present or future creditor under RCW 19.40.041 or a present creditor
            under RCW 19.40.051; [and]
10          ***
             (nn) In such other cases as may be provided for by law, or when, in the
11          discretion of the court, it may be necessary to secure ample justice to the parties.
12   See RCW 7.60.015(1)(a), (i) (p), and (nn).
13          Here, the Pacific Parties are holders of unregistered securities that WST sold to them
14   under the guise of selling franchises. The Pacific Parties have claims under the securities act as
15   well as claims to the water vending machines that WST represented they had purchased, and to
16   the monthly payments that WST said they would pay. Wear and WST are under investigation
17   by DFI and have been sued in at least 13 other cases in Washington State alone. By any
18   standard, WST is currently insolvent and has been insolvent for many months. Indeed, investors
19   have not been paid for months and in some cases over a year. “The test of the solvency of a
20   corporation is its ability to meet its obligations in the ordinary course of business.” Warren v.
21   Porter Const. Co., 29 Wn.2d 785, 786, 189 P.2d 255 (1948). WST’s demonstrated inability to
22   effectively manage its assets and meet its payment obligations, coupled with its mounting
23   liabilities threaten to permanently prejudice the rights and interests of the Pacific Parties and
24   other creditors and pose a real and present danger of impairing the value of the assets that remain
25

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 1
     to pay creditors. A receivership should be appointed to preserve the assets that remain for the
 2
     benefit of all creditors.
 3
             A receivership is also warranted in this action because the Pacific Parties have asserted
 4
     causes of action under Washington’s Uniform Voidable Transfer Act, RCW 19.40 et seq. RCW
 5
     7.60.015(1)(p) (a receivership may be appointed “[i]n connection with a proceeding for relief
 6
     with respect to a voidable transfer as to a present or future creditor under RCW 19.40.041 or a
 7
     present creditor under RCW 19.40.051[.]”
 8
             A receivership is also justified where, as here, a receiver “may be necessary to secure
 9
     ample justice to the parties.” RCW 7.60.015(nn). As noted, WST are insolvent and have more
10
     than demonstrated their inability to meet their debts, having failed to make payments for many
11
     months, in some cases for over a year. In addition to being the subject of an ongoing DFI
12
     investigation, WST are being sued in at least 13 other pending cases in Washington State alone.
13
     Additionally, the evidence generated by Pacific Parties’ investigation demonstrates that a
14
     substantial number of water vending machines which WST previously represented it had sold
15
     and installed for investors actually do not exist. And in December 2023, WST created a new
16
     entity, WaterStation Technology II—ostensibly to launch a new company to carry on the same
17
     business free of creditors.
18
             Meanwhile, since 2019, Wear and his WST affiliate Property Holding Co. have amassed
19
     a staggering number of real property assets in Washington and other states. While actively
20
     shirking investor payment obligations, Wear and this entity have engaged in over 20 real
21
     property transactions involving these properties since 2023 alone, primarily consisting of debt
22
     transactions impairing or threatening to impair the available equity. These ongoing transactions
23
     threaten to permanently prejudice the rights and interests of Pacific Parties and all other
24
     creditors.
25

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            Accordingly, there is every reason in this case for the Court to appoint a general receiver
 2
     to ensure WST’s assets are not drained or moved pending the outcome of this lawsuit—and to
 3
     ensure that the receivership is global in nature to ensure a fair and equitable preservation,
 4
     liquidation, and distribution of assets. See T. Mercho Decl.
 5
                                            CONCLUSION
 6
            Washington law grants this Court supervisory authority to ensure that the interests of
 7
     creditors are observed and protected. The Pacific Parties respectfully request that they be
 8
     permitted to intervene and file direct and third party claims; the Pacific Parties further submit
 9
     that the receivership should be broadened to include WaterStation et al.
10

11          I certify that this memorandum contains 3534 words, in compliance with the Local
     Civil Rules
12

13
            DATED this 25rd day of April, 2024.
14

15                                                       CORR CRONIN LLP

16
                                                         s/ John T. Bender
17                                                       John T. Bender, WSBA No. 49658
                                                         Kristen Barnhart, WSBA No. 51135
18                                                       1015 Second Avenue, Floor 10
19                                                       Seattle, WA 98104-1001
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20                                                       jbender@corrcronin.com
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21                                                       Counsel for Proposed Intervenors
22

23

24
25

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